                                                                                                                     ACCEPTED
                                                                                                                 05-19-00385-CV
                    Case 1:21-cv-00892-RP Document 11 Filed 12/06/21 Page 1 of 5                       FIFTH COURT OF APPEALS
                                                                                                                 DALLAS, TEXAS
                                                                                                              11/29/2021 7:35 PM
     RECEIVED                                                                                                         LISA MATZ
    December 06, 2021                                                                                                     CLERK
  CLERK, U.S. DISTRICT COURT
  WESTERN DISTRICT OF TEXAS              November 29th, 2021
                JMV
BY:_______________________________

                                                                          FILED
                        DEPUTY


                                                                    December 06, 2021
                                                                   CLERK, U.S. DISTRICT COURT
                                                                   WESTERN DISTRICT OF TEXAS

 Defendant’s Counsel: Donald E. Uloth                                           JMV
                                                                BY: ________________________________
                                                                                        DEPUTY

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 Clerk of the Court: Felicia Pitre

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 felicia.pitre@dallascounty.org



 Trial Court Coordinator: Dallas 162nd District Court

 Court Coordinator: Melinda Thomas

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          Case 1:21-cv-00892-RP Document 11 Filed 12/06/21 Page 2 of 5




Appellate Court Clerk: Dallas 5th Court of Appeals

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          Case 1:21-cv-00892-RP Document 11 Filed 12/06/21 Page 3 of 5



Re: Kimberly D. Hogan Vs. Aspire Financial Inc.
                        No. 1:21-CV-0892 United States District Court Western District of
                            Texas Austin Division
                        No. 21-0556 in Supreme Court of Texas
                        No. 05-19-00385-CV in Dallas 5th Appellate court
                                      And the Lower Court:
                        No. DC-18-01806 in Dallas County 162nd District Court




I, Kimberly D. Hogan am writing and e-filing this cover Letter with Attachments to all
recipients/defendants today to ensure your receipt. Earlier today you were all email copied a
“Waiver Of The Service Of Summons”, but since all the recent refusals of acknowledgements of
receipt of past correspondences, and zero responses, you leave me no choice but to take this
route yet again.


Here is your copy of “The Claim/Appeal” and Case Record on Pacer:
https://www.pacermonitor.com/public/case/42145060/Hogan_v_Aspire_Financial,_Inc_et_al?fbc
lid=IwAR0pLxJ_ZpfeyvftPMMPfRmmv8SDpaRuuYoDL3IbIeJBnv_cJHaRL7QbMTQ


And, here is your copy of “The Waiver Of Service Of Summons” that was also emailed to each
of you earlier today:
https://documentcloud.adobe.com/link/review?uri=urn:aaid:scds:US:a5ba90b8-ec9a-4338-8d4c-
69bbe898184c


Since it is required for me to send you 2 copies, with prepaid means for your returning to me 1
signed copy, I am stuffing snail mail envelopes and mailing those to each of you today. Pretty
ridiculous for this modern technology day and age, but they are on their way.




Submitted,
/s/ Kimberly D. Hogan

Kimberly D. Hogan

10015 Lake Creek Pkwy. #621


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         Case 1:21-cv-00892-RP Document 11 Filed 12/06/21 Page 4 of 5




Austin, Texas 78729

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                Case 1:21-cv-00892-RP Document 11 Filed 12/06/21 Page 5 of 5

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Envelope ID: 59533361
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Associated Case Party: Aspire Financial, Inc.

Name            BarNumber   Email                            TimestampSubmitted   Status

Felicia Pitre               felicia.pitre@dallascounty.org   11/29/2021 7:35:53 PM SENT

Lisa Matz                   TheClerk@5th.txcourts.gov        11/29/2021 7:35:53 PM SENT

Donald Uloth                don.uloth@uloth.pro              11/29/2021 7:35:53 PM SENT



Case Contacts

Name              BarNumber    Email                           TimestampSubmitted      Status

Felicia Pitre                  felicia.pitre@dallascounty.org 11/29/2021 7:35:53 PM    SENT

Melinda Thomas                 mthomas@dallascourts.org        11/29/2021 7:35:53 PM   SENT

Lisa Matz                      TheClerk@5th.txcourts.gov       11/29/2021 7:35:53 PM   SENT

Kristen Golby                  kristen.golby@txcourts.gov      11/29/2021 7:35:53 PM   SENT
